                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


GEORGE ZIMMERMAN,

      Plaintiff,                               Case No. 8:20-cv-1077-T-36CPT

v.

PETE BUTTIGIEG and ELIZABETH
WARREN,

      Defendants.


  MOTION FOR MARC E. ELIAS TO APPEAR PRO HAC VICE, CONSENT TO
DESIGNATION, AND REQUEST TO ELECTRONICALLY RECEIVE NOTICES OF
          ELECTRONIC FILING ON BEHALF OF DEFENDANTS

       Pursuant to Local Rule 2.02, Defendants Pete Buttigieg and Elizabeth Warren

(“Defendants”) respectfully request that the Court enter an order admitting Marc E. Elias to

appear pro hac vice as counsel on behalf of Defendants.        In support of this request,

Defendants state:

       1.      Marc E. Elias is a member of the law firm of Perkins Coie LLP, 700

Thirteenth Street, N.W., Suite 800, Washington, D.C. 20005-3960, telephone: (202) 654-

6200, and email: melias@perkinscoie.com. Mr. Elias has been engaged along with local

counsel, King, Blackwell, Zehnder & Wermuth, P.A., to represent Defendants in this action.

       2.      Mr. Elias is an active member in good standing of the Bar of the District of

Columbia, as well as a licensed and practicing attorney admitted to practice before the

Supreme Court of the United States, U.S. Court of Appeals D.C. Circuit, U.S. Court of

Appeals 3rd Circuit, U.S. Court of Appeals 4th Circuit, U.S. Court of Appeals 5th Circuit,
U.S. Court of Appeals 9th Circuit, U.S. Court of Appeals 10th Circuit, U.S. Court of Appeals

11th Circuit, U.S. District Court for the District of Columbia, U.S. District Court for the

Northern District of Florida, U.S. District Court for the Eastern District of Michigan, and the

U.S. District Court for the Western District of Wisconsin. He has never been the subject of

any professional disciplinary proceeding.

        3.      Mr. Elias is currently devoting significant amounts of time to this action and it

is expected that he will continue to participate in all aspects of this case, including the trial of

this matter in the event the case proceeds to trial.

        4.      Mr. Elias is familiar with and will be governed by the Local Rules of the

Middle District of Florida, including, in particular, Local Rule 2.04, and is also familiar with

and will be governed by Florida’s Rules of Professional Conduct and the other ethical

limitations and requirements governing the professional behavior of the members of The

Florida Bar.

        5.      Mr. Elias is not a resident of the State of Florida and has not abused the

privilege of special appearance by frequent or regular appearances in separate cases to such a

degree as to constitute the maintenance of a regular practice of law in the State of Florida.

        6.      Pursuant to Local Rule 2.02(a), Frederick S. Wermuth of the law firm of

King, Blackwell, Zehnder & Wermuth, P.A. is a member in good standing of the Bar of this

Court and has consented to his designation as local counsel upon whom all notices and

papers may be served and who will be responsible for the progress of the case, including the

trial in default of the non-resident attorneys appearing on behalf of Defendants.




                                                 -2-
        7.       Furthermore, Mr. Elias certifies that he will comply with the fee and email

registration requirements of Local Rule 2.01(d) and that, in connection with the filing of this

motion, he has submitted – or within the next three (3) business days will submit – a

completed Special Admission Attorney Certification Form 1 and check for the $150.00

Special Admission Fee to the Clerk of the Court.

        8.       Upon admission pro hac vice, Mr. Elias will obtain a login and password to

participate in the Middle District of Florida’s Case Management/Electronic Case Filing

system (CM/ECF).

        9.       Based on the foregoing, Mr. Elias should be admitted to appear pro hac vice

as counsel on behalf of Defendants.

        WHEREFORE, Defendants Pete Buttigieg and Elizabeth Warren respectfully

request that the Court enter an order admitting Marc E. Elias to appear pro hac vice as

counsel on behalf of Defendants.

                           LOCAL RULE 3.01(g) CERTIFICATION

        Pursuant to Local Rule 3.01(g), undersigned counsel for Defendants conferred in

good faith regarding this request, and Plaintiff’s counsel reported that his client opposes Mr.

Elias’s pro hac vice entry.


Dated: May 13, 2020                                   /s/ Frederick S. Wermuth
                                                      Frederick S. Wermuth
                                                      Florida Bar No.: 0184111
                                                      KING, BLACKWELL, ZEHNDER
                                                        & WERMUTH, P.A.
                                                      P.O. Box 1631

1
 A true and correct copy of Mr. Elias’s completed Special Admission Attorney Certification form is attached
hereto as Exhibit 1.




                                                     -3-
                                              Orlando, FL 32802-1631
                                              Telephone: (407) 422-2472
                                              Facsimile: (407) 648-0161
                                              fwermuth@kbzwlaw.com

                                              Marc E. Elias
                                              PERKINS COIE LLP
                                              700 13th St. N.W., Suite 600
                                              Washington, D.C. 20005-3960
                                              Tel.: (202) 654-6200
                                              Fax: (202) 654-9106
                                              MElias@perkinscoie.com

                                              William B. Stafford*
                                              PERKINS COIE LLP
                                              1201 Third Ave., Suite 4900
                                              Seattle, WA 98101-3099
                                              Tel.: (206) 359-8000
                                              Fax: (206) 359-9000
                                              WStafford@perkinscoie.com

                                              Counsel for Defendants

                                              *Motion for Admission Pro Hac Vice
                                              Forthcoming


                                   CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on May 13, 2020 I electronically filed the foregoing with

the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic

filing to all counsel of record.

                                                   /s/ Frederick S. Wermuth
                                                   Frederick S. Wermuth
                                                   Florida Bar No.: 0184111

                                                   Counsel for Defendants




                                             -4-
